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 9
                                  UNITED STATES DISTRICT COURT
10
                                        DISTRICT OF NEVADA
11
12   LAS VEGAS POLICE PROTECTIVE ASSOCIATION                     CASE NO. 2:15-cv-01928-LDG-CWH
     METRO INC.; LAS VEGAS METRO POLICE
13
     MANAGERS & SUPERVISORS ASSOCIATION,
14                                                               REPLY IN SUPPORT OF MOTION
                    Plaintiffs,                                  FOR PRELIMINARY INJUNCTION
15
            vs.
16
17   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT;
18
                    Defendant.
19
20
21
            I.      INTRODUCTION AND SUMMARY OF ARGUMENT
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            Metro does a fine job of destroying a straw horse, a claim not made by Plaintiffs that the
23
     First Amendment provides some sort of abstract right to continued subsidy of speech. Plaintiffs
24
     instead are arguing they are victims of viewpoint discrimination in that they and their fellow
25
     local union advocates have alone been targeted for defunding: state and local government
26
     continues to subsidize ethnic employee groups and State employee groups and lobbying, and
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     could subsidize anti-union speech as well. The First Amendment compels the Legislature to be
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     consistent and even-handed: if it does not want public money to be used for advocacy, then pass

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 1   a law saying that, instead of saying public money cannot be used for union speech but letting
 2   anti-union speech be paid for with tax dollars. Because discrimination is the issue here, Metro’s
 3   reliance on Ysursa v Pocatello Ed Assn and similar cases is entirely-misplaced, because the
 4   unions there either abandoned any discrimination claim or had no such claim.
 5          II.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
 6          Metro relies on cases holding in the abstract there is no per se right to have speech
 7   subsidized such as Regan v Taxation with Representation, 461 US 540 (1983), but those cases
 8   were distinguished and found inapposite to the situation where government through de-funding
 9   engages in viewpoint discrimination against particular speakers in the two key Supreme Court
10   cases cited by Plaintiffs in their opening brief but completely ignored by Metro’s opposition,
11   Legal Services Corp. v. Velasquez, 531 US 533 (2001) and Rosenberger v. Rector & Visitors of
12   Univ. of Virginia, 515 U.S. 819, 835 (1995). Like here, in the latter cases particular private
13   advocacy was selected for defunding, which the Court found impermissible.
14          Here, the statutory definition of “employee organization” applicable to SB 241’s funding
15   ban is viewpoint-based: “’Employee organization’ means an organization of any kind having as
16   one of its purposes improvement of the terms and conditions of employment of local government
17   employees.” NRS 288.040. An employee organization is required by law to speak, and to do so
18   in a certain manner: that is, to advocate on behalf of all unit employees on a non-discriminatory
19   basis with an eye to improving employment terms and arriving at a collective bargaining
20   agreement and enforcing the same, while renouncing strikes. NRS 288.160(1)(c); 288.270(2);
21   NRS 288.240-.250. 1 Ethnic groups and government managers by their very nature have other
22
     1
        Union speech mandated by law includes, for example, providing information to employers
23   upon request (see, e.g., Hotel & Restaurant Employees Local 226 (Caesars Palace), 281 NLRB
     284 (1986)) and designating a particular spokesperson. (See, e.g., City of Reno v. Int’l Assn of
24
     Firefighters, Nev. EMRB Case No. A1-045472, EMRB Dec. No.253A, 2/3/91). Union leaders
25   who thought their members’ pay and benefits should be cut or their members contracted-out
     because that would be better for the public could not tell the employer or public as much without
26   breaching their legal duty of fair representation to the bargaining unit. Unions are also often
     compelled to engage in the speech of filing grievances and pursuing arbitrations, even for
27
     individuals who take a political stance contrary to that of the union (and ultimately harmful to the
28   union and its unit). See NRS 288.270(2)(c); Nevada Service Employees Union/SEIU Local 1107
     v. Orr, 121 Nev. 675, 119 P.3d 1259 (2005); Deborah Boland MD v. SEIU Local 1107, Nev.
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 1   priorities. Judges and scholars have recognized that labor organizations have a viewpoint by their
 2   very nature. See e.g., United Food & Commercial Workers Local 99 v. Bennett, 934 F. Supp. 2d
 3   1167, 1193-94 (D. Ariz. 2013) (“Both definitions of picketing in A.R.S. § 23–1322 single out
 4   picketing by ‘labor organizations.’ Because § 23–1322(B) singles out labor unions as the only
 5   speakers on which to impose its restrictions, it is viewpoint discriminatory on its face.”); NLRB
 6   v. Fruit & Vegetable Packers, Local 760 (Tree Fruits), 377 U.S. 58, 76-80 (1964) (Black, J.,
 7   concurring, finding statutory restrictions on picketing only by labor organizations to be
 8   unconstitutional discrimination); Retail Store Employees Union v. NLRB (Safeco), 447 U.S. 607
 9   (1980) at 617 (Blackmun, J., concurring). 2 Union representatives are the functional equivalent of
10   the legal aid lawyers held protected from defunding in Velasquez.
11          Metro’s reliance on Ysursa v. Pocatello Educ’n Assn, 555 U.S. 353 (2009) is mistaken
12   because it was not a discrimination case, unlike this one. There Justice Souter’s dissent from the
13   grant of certiorari put the problem succinctly: “the potential issue of viewpoint discrimination
14   that should be addressed in this case is not before us. * * * the unions have accepted the
15   LGEMRB Case Nos. A1-045847 et seq., Dec. No. 802, 2015 WL 1324423 (March 23,
16   2015)(union must go on filing grievances and arbitrations for employees even after it disclaims
     interest in representing them). Unions by their very nature are organs of speech, and in the U.S.
17   quite particular speech, that which observes that management and labor have fundamental
     differences and that managers make errors which should be addressed via workers having
18   collective representation. See, e.g., Thomas v. Collins, 323 US 516, 535 (1945)(noting
19   “unionism's most central principle, namely, that workingmen should unite for collective
     bargaining”); Railroad Telegraphers v. Railway Express Agency, Inc., 321 US 342, 346
20   (1944)(“Collective bargaining was not defined by the statute which provided for it, but it
     generally has been considered to absorb and give statutory approval to the philosophy of
21   bargaining as worked out in the labor movement in the United States.”).’
22   2
       Other justices found the statute discriminatory but justified by state interests. Among the many
23   scholars noting NLRA restrictions on picketing by labor organizations (but only such
     organizations) to be impermissible viewpoint discrimination are Prof. Julius Getman, “Labor
24
     Law and Free Expression: The Curious Policy of Limited Expression,” 43 Md. L. Rev. 4, 14-15
25   (1984); Note, “Peaceful Labor Picketing and the First Amendment,” 82 COLUM. L. REV. 1469,
     1469-70 (1982); Charlotte Garden, “Citizens, United and Citizens United: the Future of Labor
26   Speech Rights?” 53 WM. & MARY L.R. 1, 17 (2011); Prof. Cynthia Estlund, “Are Unions a
     Constitutional Anomaly?” New York University Public Law and Legal Theory Working Papers,
27
     Paper 503 (2015), at 34 (“Under the Court’s ‘normal’ First Amendment analysis, the speaker-
28   specific and content-based nature of the NLRA’s [secondary picketing] restrictions would seem
     to doom them.”), available at: http://lsr.nellco.org/nyu_plltwp/503.
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 1   constitutionality of applying the law to the State, where an effort at viewpoint discrimination
 2   would be as unconstitutional as it would be at the level of a town.” Id. at 377. The majority
 3   opinion never comes close to dealing with the viewpoint discrimination issue here because a
 4   discrimination claim was waived and because the state law there did not exempt various speakers
 5   (unlike SB 241’s exemption of spending on anti-union speech, local government officials’
 6   lobbying, state employee unions, and ethnic employee associations). The Ysursa majority
 7   explains at p. 361 note 3:
 8
             Justice BREYER suggests that the ban on political payroll deductions may not be applied
 9
             evenhandedly to all politically related deductions. Post, at 1104 (opinion concurring in
10           part and dissenting in part). Justice STEVENS goes further and would find the ban
             unconstitutional in all its applications as discriminatory. Post, at 1104-1105 (dissenting
11           opinion). The District Court, however, noted that the ban "is not viewpoint-based," 2005
             WL 3241745, *3; the unions acknowledged in their Court of Appeals brief that they
12
             "have not attempted to establish that Section 44-2004(2) is based on viewpoint
13           discrimination," Brief for Plaintiffs-Appellees in No. 06-35004(CA9), p. 18, n. 13; and
             nothing in the Questions Presented before this Court raised any issue of viewpoint
14           discrimination. The ban on political payroll deductions is by its terms not limited to any
15           particular type of political contribution. Nothing in the record suggests that public
             employers permit deductions for some political activities but not for those of unions.
16           Idaho's attorney general—charged with enforcing the ban— explicitly confirmed that it
             "applies to all organizations, to any deduction regarding political issues, applies
17           regardless of viewpoint or message, applies to all employers, and it does not single out
18           any candidates or issues." App. 110.
     Thus Ysursa is of no help to Metro at all in this case. It was not a real discrimination case like
19
     this one is.
20
             Metro also relies on Bailey v. Callaghan, 715 F.3d 956 (6th Cir. 2013)(upholding a ban on
21
     schools making union dues deductions), but that case is inapposite because it did not involve a
22
     situation where local government’s ethnic and/or anti-union employees continued to be allowed
23
     public funding while cutting off only union representatives. The Bailey court’s rationale was that
24
     the Legislature had merely been selective as to which employers were restricted from providing
25
     deductions and this selection did not implicate speech, but here the Nevada Legislature was
26
     selective as to the speakers: only employee organizational representatives (advocates for
27
     improving public employee conditions via labor contracts) are banned from getting money, while
28

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 1   anti-union managers and ethnic employee groups are free to spend as much paid time advocating
 2   against unions (and against union principles such as seniority) 3 as they wish. The fact that
 3   Nevada’s definition of “employee organization” and laws dictating their speech are viewpoint-
 4   based dooms SB 241 when there was nothing comparable in the Bailey case.
 5          Moreover, the Bailey decision is no longer good law in light of Reed v. Town of Gilbert,
 6   135 S. Ct. 2218, 2228, 192 L. Ed. 2d 236 (2015), which as noted in Plaintiffs’ opening brief,
 7   explained that past lower court decisions allowing discrimination on the basis of speaker identity
 8   were incorrect because this too is a form of impermissible content discrimination. Commentators
 9   and courts have repeatedly noted recently the sea change effectuated by Reed. The Seventh
10   Circuit recently underscored the “significance of the Supreme Court’s recent decision in Reed v.
11   Town of Gilbert” by striking down an anti-panhandling statute which the same court had
12   previously upheld only a few months prior, Norton v. City of Springfield, No. 13-3581, 2015 WL
13   4714073 (7th Cir. Aug. 7, 2015) (on rehearing). In the few months since Reed was decided,
14   courts in reliance on Reed have struck down a number of statutes which previously would have
15   been thought unassailable, such as a statute intended to protect residential privacy and tranquility
16   from unwanted and intrusive robocalls, Cahaly v. Larosa, 796 F.3d 399, 405 (4th Cir. 2015); a
17   statute prohibiting the taking and sharing of images of marked ballots that are intended to
18   disclose how a voter has voted, Rideout v. Gardner, No. 14-CV-489-PB, 2015 WL 4743731, at
19   *9 (D.N.H. Aug. 11, 2015); and a statute prohibiting threats by public officials being used
20   against the former Governor of Texas, Ex Parte Perry, — S.W.3d—, 2015 WL 4514696, at *37
21   & n.279 (Ct. App. Tex. July 24, 2015). 4
22
     3
      Published cases are filled with examples of ethnic employee associations being at odds with the
23   unions selected by a majority of employees, particularly when seniority imposes a relative
24   disadvantage to ethnic group members. See, e.g., Dallas Firefighters Assn v. City of Dallas, 885
     F.Supp. 915 (N.D. Tex. 1995); NAACP & Guardians v. Detroit Police Ofrs Assn, 525 F.Supp.
25   1215 (D.Mi. 1981).
26   4
      See also Adam Liptak, “Court’s Free-Speech Expansion Has Far-Reaching Consequences,”
     NEW YORK TIMES (Aug. 17, 2015) (citing Yale Law School Dean Robert Post on Reed’s far-
27
     reaching implications and quoting First Amendment lawyer Floyd Abrams that Reed “provides
28   significantly enhanced protection for free speech while requiring a second look at the
     constitutionality of aspects of federal and state securities laws, the federal Communications Act
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 1           However, even before Reed, lower courts have made clear that the import of Velasquez
 2   and Rosenberger go beyond the particular facts in those cases, as in a decision invalidating a
 3   federal law which caused a transit agency to reject ads promoting legalization of marijuana. Am.
 4   Civil Liberties Union v. Mineta, 319 F. Supp. 2d 69, 78 (D.D.C. 2004) appeal dismissed, No. 04-
 5   5285, 2005 WL 263924 (D.C. Cir. Feb. 2, 2005):
 6
             While Congress may be under no obligation to fund mass transit or other entities
 7
             that rely also on advertising revenues for their survival, once it chooses to do so, it
 8           must act in a way that does not engage in viewpoint discrimination in violation of
 9           the First Amendment. See Legal Services Corp. v. Velazquez, 531 U.S. at 548,
             121 S.Ct. 1043. Just as Congress could not permit advertisements calling for the
10           recall of a sitting Mayor or Governor while prohibiting advertisements supporting
11           retention, it cannot prohibit advertisements supporting legalization of a controlled
             substance while permitting those that support tougher drug sentences. The Court
12           concludes that because Section 177 is viewpoint-discriminatory, it is an
13           unconstitutional exercise of Congress' broad spending power under the test
             established in South Dakota v. Dole.
14
15   Metro cannot dispute that if the instant case is a viewpoint discrimination case, a compelling
16   interest test applies and the Legislature’s action neither involved a compelling interest nor a close
17   fit with such interest. As in Reed, the legislative body’s action here was “hopeless
18   underinclusive”. Plaintiffs have a reasonable likelihood of success.
19
20           III.    PLAINTIFFS FACE SERIOUS IRREPARABLE HARMS

21           Plaintiffs’ injuries are not self-inflicted, as Metro claims. Plaintiffs did not draft SB 241
22   nor vote for it, nor have the political power in the current Legislature to stop it. Plaintiff PMSA
23   said nothing to support it. 5 It is Metro not Plaintiffs that is now deciding to ignore all past
24
     and many others”), available at: http://www.nytimes.com/2015/08/18/us/politics/courts-free-
25   speech-expansion-has-far-reaching-consequences.html.

26   5
       PPA member Ramirez when he uttered his one-line comment of support for SB 241 was acting
     on the assumption that PPA’s past concessions to obtain paid leave meant the bill would have no
27
     impact on PPA’s current number of employees on leave. Ramirez Decl. para. 11. Defendant
28   Metro is pursuing a very different reading of the bill and demands new concessions or other
     payment.
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 1   sacrifices by the bargaining unit to obtain paid leave for their union representatives, as Metro
 2   has done with the Civilian Employees and has said it will do with Plaintiffs as well. It is the
 3   Legislature that has decided that if Plaintiffs want to go on being staffed by Metro employees on
 4   leave, then Plaintiffs must take dues away from other speech and spend it on these employees’
 5   salaries instead (until and unless they spend enough time and money to persuade employees to
 6   pay much more in dues). Metro presents no counter-declarations showing the Association
 7   representatives were wrong in their declarations in stating that many unit employees would
 8   oppose a dues increase and many would drop membership. Nor does Metro present any evidence
 9   rebutting the declarations noting that even if there were sufficient employee support to effectuate
10   a net increase in dues, Metro employees would demand higher pay and thereby make
11   negotiations much more difficult for Plaintiffs and Metro. It is the Legislature not Plaintiffs
12   which mandates that Plaintiffs provide fair representation to everyone in their bargaining unit.
13   The Legislature has also declared that every accused police officer and witness during internal
14   investigations is entitled to two representatives. NRS 289.080. The Associations’ belt-tightening
15   can only go so far without impairing the Associations: Metro presents no declaration showing
16   there is a pool of unemployed police union representatives just waiting to replace the incumbent
17   representatives who are less-expensive but equally-competent. There is no such pool. See
18   Ramirez Declaration and Supplemental Faulis Declaration filed herewith. Moreover, the elected
19   association officers have the right to serve out their terms and cannot just be thrown out of office
20   now because the association might find it financially expedient. There is no approach to the SB
21   241 problem by Plaintiffs which does not hurt them by cutting into the representational advocacy
22   they would otherwise be engaging in. That is not self-inflicted harm, but instead what the
23   caselaw recognizes as irreparable harm under the First Amendment resulting from government
24   actions.
25          Finally, it simply cannot be disputed that bargaining which starts soon will be severely
26   impacted by SB 241 if not enjoined by this Court, as if the associations must hike their dues
27   significantly (as SB 241 in effect requires if Plaintiffs wish to continue serving their members as
28   before), then Plaintiffs must demand considerably more in wage increases than they otherwise

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 1   would have sought. Plaintiffs will have to make alternative proposals, one assuming SB 241 to
 2   be valid and the other assuming it is invalid. The parties would have to engage in protracted and
 3   difficult bargaining over both sides’ historic functions, such as Metro taking over health benefit
 4   functions heretofore carried out by Plaintiffs, and over Metro paying for competent individual
 5   representation in internal affairs investigations to the extent not necessary to come from an
 6   employee organization. Impasse is thus a near-certainty if SB 241 is in the mix, but then what is
 7   an arbitrator to do with these alternative packages if the arbitrator does not know whether the
 8   statute is constitutional? Thus SB 241 not only impairs the plaintiff associations, it also impairs
 9   the public’s interest in prompt and inexpensive resolution of labor negotiations at Metro this
10   spring.
11
               IV.    METRO’S CONTENTIONS AS TO STANDING AND RIPENESS ARE
12
                      ADDRESSED VIA SEPARATE MEMORANDUM
13
               Metro’s arguments as to standing and ripeness are addressed by Plaintiffs’ opposition to
14
     Metro’s motion to dismiss, incorporated herein by this reference.
15
16
               V.     A NOMINAL BOND IS ALL THAT IS APPROPRIATE
17
               Plaintiffs would waive any claim that the bond amount set by this Court serves as an
18
     upward limit on their liability to Metro if an injunction were later found erroneously granted.
19
     Accordingly, this Court should set the bond amount at zero or a nominal sum. See Continuum
20
     Co., Inc. v. Incepts, Inc., 873 F. 2d 801 (5th Cir. 1989)(if moving party waives claim that bond
21
     amount limits its liability, and it has assets, proper to set bond at zero). Plaintiffs are not about to
22
     leave the State and currently have enough in assets to repay Metro for their representatives’ pay
23
     for the brief time period it should take to get a final judgment here if this case were expedited (as
24
     it should be). See Ramirez Decl. para. 12: Supp. Faulis Decl. para. 5. See also Continental Oil
25
     Co. v. Frontier Refining Co., 338 F.2d 780, 782-83 (10th Cir.1964) (no abuse of discretion to
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     grant preliminary injunction without requiring bond where plaintiff had assets such that it was
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     "able to respond in damages if [defendant] does suffer damages by reason of the injunction");
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 1   Asa v. Pictometry Int'l Corp., 757 F.Supp.2d 238, 247 (W.D.N.Y. 2010) (no bond required
 2   where, among other things, "both parties appear to be fully solvent, and there is no indication ...
 3   that either of them would be unable to satisfy an award of damages if it is later determined that
 4   the other party was wrongfully enjoined"); Radio One, Inc. v. Wooten, 452 F.Supp.2d 754, 760
 5   (E.D.Mich.2006) (declining to require bond where defendant did "not pose a collection risk.”).
 6
            VI.     CONCLUSION
 7
 8          Given recent U.S. Supreme Court First Amendment caselaw, Plaintiffs have shown they
 9   have a reasonable likelihood of success in their constitutional challenge to SB 241. The balance
10   of irreparable injuries and the public interest all favor granting a preliminary injunction against
11   Metro’s use of SB 241.
12
13   Dated: November 19, 2015               Respectfully submitted,

14                                          McCRACKEN STEMERMAN & HOLSBERRY
15
16
                                            By: /s/ Andrew J. Kahn
17                                                  Richard G. McCracken
18                                                  Andrew J. Kahn
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                                      CERTIFICATE OF SERVICE
 1
 2
            I hereby certify that on November 19, 2015, I electronically transmitted the attached
 3
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal and a Notice
 4
     of Electronic Filing was electronically transmitted from the court to the e-mail addresses on file.
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                                                   /s/ Joyce Archain
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